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 1                                                      Hon. Ricardo S. Martinez
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 3
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 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE
 7
     UNITED STATES OF AMERICA,                    )
 8                                                )
                           Plaintiff,             )           NO. 07-264RSM
 9                                                )
                                                  )
10                 vs.                            )           ORDER EXTENDING
                                                  )           SELF-SURRENDER
11   TRINA L. CALDWELL,                           )           DATE TO BUREAU OF
                                                  )           PRISONS
12                    Defendant.                  )
     ______________________________               )
13
14
15              THIS MATTER having come on upon the motion of the Defendant to extend the
16   date by which the Defendant must self-surrender to the Bureau of Prisons and the Court
17   having reviewed the relevant pleadings and being advised on the premises,
18   NOW THEREFORE,
19       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the date by which this
20   Defendant, Trina L. Caldwell, must self-surrender to the Bureau of Prisons is hereby
21   extended to the 27th of June, 2008.
22
23       Dated this 21st day of February, 2008.
24
25
26
                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
27
28   ORDER EXTENDING
                                                                              Law Offices of Lee Covell
     SELF-SURRENDER DATE                                                       119 First Avenue South
                                                                                      Suite 500
                                                                                 Seattle, WA 98104
                                                  1                               (206) 682-6644
